                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
       v.                                       )   No. 06-03011-01-CR-S-DW
                                                )
DAVID L. SANDS,                                 )
                                                )
                      Defendant.                )

                                            ORDER

       The matter is before the Court on the Motion of the United States for a Preliminary Order

of Forfeiture. Count Nine of the Superseding Indictment in this Case sought forfeiture of $4,653

in United States currency seized from the defendant on August 18, 2005, and $19,5601 in United

States currency seized from the defendant on December 23, 2005.

       On December 22, 2006, Defendant David L. Sands entered into a plea agreement wherein

he agreed to plead guilty to Counts One and Nine of the Superseding Indictment and to forfeit to

the United States the $4,653.00 and $19,460.00 in United States currency identified in Count

Nine of the Superseding Indictment. (Doc. 104 ¶¶ 2-3.)

       The Court has determined, based upon the evidence set forth in the plea agreement, that

the United States has established the requisite nexus between the described property and the

Counts to which Defendant pled guilty.




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         After the Superseding Indictment was returned, the United States discovered that two
$50 bills among the $19,560.00 in United States currency seized from Defendant David L. Sands
on December 23, 2005, were counterfeit. Consequently, the amount sought for forfeiture in the
United States’ motion for the December 23, 2005 seizure is $19,460.00.


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           By virtue of the plea agreement, the United States is now entitled to a Preliminary Order

of Forfeiture and to possession of the property pursuant to 21 U.S.C. § 853(n).

           Accordingly, it is hereby ORDERED:

           1. Based upon the plea agreement and the criminal forfeiture count of the Superseding

Indictment, the $4,653 in United States currency seized from Defendant on August 18, 2005, and

$19,460 in United States currency seized from Defendant on December 23, 2005 is hereby

forfeited to the United States for disposition in accordance with the law, subject to the

provisions of 21 U.S.C. § 853(n).

           2. Upon Entry of this Order, the United States Attorney General or his designee is

authorized to seize the above-described property in accordance with Fed. R. Crim. P. 32.2(b)(3).

           3. Pursuant to 21 U.S.C. § 853(n), the United States Marshals Service shall publish at

least once for three successive weeks in a newspaper of general circulation, notice of this

ORDER, notice of the United States’ intent to dispose of the property in such a manner as the

Attorney General may direct, and notice that any person, other than the Defendant David L.

Sands, having or claiming a legal interest in the above-described property must file a petition

with the Court (and serve a copy on Robyn L. McKee, Assistant United States Attorney), within

thirty (30) days of the final publication of notice or of receipt of actual notice, whichever is

earlier.

           This notice shall state that the petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty of

perjury and shall set forth the nature and extent of the petitioner’s right, title, or interest in the

forfeited property and any additional facts supporting the petitioner’s claim and the relief sought.


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       The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the property that is the subject of this Preliminary

Order of Forfeiture, as a substitute for published notice as to those persons so notified.

       4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture shall be

come final as to the Defendant at the time of sentencing (or before if the Defendant consents) and

shall be part of the sentence and included in the judgment.



Date: January 31, 2007                                  /s/ DEAN WHIPPLE
                                                             Dean Whipple
                                                      United States District Court




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